CM/ECF-GA Northern District Court                                     https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?709241977079211-...
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                                                     1:19-cv-04171-MHC
                                                    Carnes v. Fannie's Inc.
                                                   Honorable Mark H. Cohen

                                    Minute Sheet for proceedings held In Chambers on 06/11/2020.


              TIME COURT COMMENCED: 10:00 A.M.
              TIME COURT CONCLUDED: 11:15 A.M.                       COURT REPORTER: Judith Wolff
              TIME IN COURT: 1:15                                    DEPUTY CLERK: Lynn Beck
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                 Jonathan Akins representing Fannie's Inc.
         PRESENT:                    Charles Bridgers representing Suzanne R. Carnes
                                     John Christy representing Fannie's Inc.
                                     Kevin Fitzpatrick representing Suzanne R. Carnes
                                     Matthew Herrington representing Suzanne R. Carnes
         PROCEEDING
                                     Telephone Conference(Other Proceeding Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:                Teleconference resumed from yesterday. Parties discussed discovery
                                     issues. Court resolved the discovery issues. Parties are to discuss further
                                     issues. See transcript for details.
         HEARING STATUS:             Hearing Concluded




1 of 1                                                                                                                6/11/2020, 3:32 PM
